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                         UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF MASSACHUSETTS


    UNITED STATES OF AMERICA, et al.,

                                      Plaintiffs,

                            v.                                             Civil No. 21-11558


    AMERICAN AIRLINES GROUP INC. and
    JETBLUE AIRWAYS CORPORATION,

                                      Defendants.



PLAINTIFF STATES’ CONSENT MOTION TO EXTEND TIME TO MOVE
                   FOR ATTORNEYS’ FEES
         Pursuant to Fed. R. Civ. P. 6(b)(1) and 54(d), Plaintiffs the District of Columbia, the

states of Arizona, California, and Florida, and the Commonwealths of Massachusetts,

Pennsylvania, and Virginia (collectively Plaintiff States), move this Court for an extension of

time for Plaintiff States to file a motion for attorneys’ fees and costs to thirty (30) days following

the Court’s Final Judgment and Order Entering the Permanent Injunction, or in the case of an

appeal, by either American Airlines Group Inc. or JetBlue Airways Corporation (collectively

Defendants), twenty-one (days) after final resolution of the appeal. 1

         Pursuant to D. Mass. R. 7.1(a), the counsel for the Plaintiff States conferred with counsel

for Defendants who consent to this motion. Plaintiff States’ memorandum of points and

authorities in support of this request and proposed order are attached.



1
 Plaintiff United States of America does not intend to seek attorneys’ fees, but reserves the right to seek costs
pursuant to Fed. R. Civ. P. 54(d)(1).

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Dated: June 1, 2023                 Respectfully submitted,

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                                           Attorney General

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                                           /s/ Adam Gitlin
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                                           Attorneys for Plaintiff District of Columbia




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                                Certificate of Service

       I certify that on June 1, 2023, I caused a true and correct copy of the Plaintiff
States’ Motion to Extend Time to File a Motion for Attorneys’ Fees to be served
upon the parties of record through the Court’s ECF system.

                                        /s/ Colin G. Fraser
                                        Colin G. Fraser




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